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AO 106 (Rev, OU) Zpplicatien for a Search Warrant

UNITED STATES DISTRICT COURT
for the
Western District of Arkansas
Fayetteville Division

In the Matter of the Search of
(Briefly describe the property to be searched or identify )
the person by name and address) )
The premises located at 906 South 17th Street, )
Rogers, Arkansas 72758 )

Case No. s ot ICms ?

APPLICATION FOR ANTICIPATORY SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state
under penalty of perjury that I have reason to believe that there is now concealed on the following person or
property located in the Western District of Arkansas (identify the person or describe property to be searched

and give its location):

See Attachment A
The person or property to be searched, described above, is believed to conceal upon the occurrence of the
anticipated delivery of a package containing a stolen checks from the mail

(identify the person or describe the property to be seized): See Attachment B

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
& evidence of a crime;

® contraband, fruits of crime, or other items illegally possessed;
& property designed for use, intended for use, or used in committing a crime;
1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of possession of stolen mail, in violation of Title 18, United States
Code, Section 1708.

& Continued on the attached sheet.

0 Delayed notice of days (give exact ending date if more than 30 days: ) is
requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

 

Applicant’s signature *

David L. Barrett, U.S. Postal Inspector
Printed name and title

Sworn to before me and signed in my presence.
Date: q| Ie] Al @ B04 Vinatrche

Judge’s signature

City and state: Fayetteville, Arkansas
Christy D. Comstock, U.S. Magistrate Judge

Printed name and title

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION
IN THE MATTER OF THE SEARCH OF

)
THE PREMISES LOCATED AT )
)
)

906 S. 17" STREET Case No.

ROGERS, ARKANSAS

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR AN ANTICIPATORY SEARCH WARRANT

I, David L. Barrett, a Federal Agent for the United States Postal Inspection Service, being

duly sworn, depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a search warrant under Rule 41 of
the Federal Rules of Criminal Procedure for a search warrant authorizing the search of the premises
located at 906 South 17" Street in Rogers, Arkansas, located in the Western District of Arkansas
(which premises is more particularly described and depicted in Attachment A, and is referred to
hereinafter as the “SUBJECT PREMISES”) for fruits, evidence, and instrumentalities for a
violation of Title 18, United States Code, Section 1708 Possession of Stolen Mail, and other federal
laws.

2. | have been a United States Postal Inspector for over eighteen years. During that time,
I have worked on numerous federal criminal investigations, and have worked with other agents,
police officers, and law enforcement personnel who have extensive criminal investigative
experience and training. I have conducted investigations which involve violent crimes, illegal
narcotics, stolen property, and identify theft. Through training and participation in criminal
investigations, | have become familiar with and have participated in electronic surveillance, visual

surveillance, questioning of witnesses, and the use of search warrants and undercover agent. | was

 
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a police officer in the states of Arkansas and Oklahoma for over seven years. I am a federal law
enforcement officer within the meaning of Rule 41(a)(2)(C) of the Federal Rules of Criminal
Procedure, and I am authorized by Rule 41(a) of the Federal Rules of Criminal Procedure to make
applications for search and seizure warrants and serve arrest warrants.

3. The facts and statements contained in this affidavit are based in part on information
received from other law enforcement agents and analysis based on my experience, training, and
background as a law enforcement officer and Federal Agent with the United States Postal
Inspection Service. Because this affidavit is being submitted for the limited purpose of securing
authorization for the requested search warrant, | have not included each and every fact known to
me concerning this investigation. Instead, I have set forth only the facts that I believe are necessary
to establish the necessary foundation for the requested warrant. The descriptions of
communications contained herein are not intended as exact transcripts, but are intended to
accurately summarize the nature and content of communication between the persons identified.

4. Your affiant respectfully submits this affidavit in support of an application for a warrant
to search the SUBJECT PREMISES. Based on my training and experience and the facts as set in
this affidavit, there is probable cause to believe that instrumentalities, fruits, and evidence of a
violation or violations of Title 18, United States Code, Section 1708, Possession of Stolen Mail,
will be found within the SUBJECT PREMISES.

IDENTIFICATION OF THE PREMISES TO BE SEARCHED

5. The SUBJECT PREMISES is located at 906 S. 17" Street, Rogers, Arkansas, in the
Western District of Arkansas. The SUBJECT PREMISES is a tan brick ranch style house with
white porch railings, a one-car garage, and a composite shingle roof. The house number is clearly

displayed on a mailbox, as shown in Attachment A.

 
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THE INVESTIGATION
6. On or about September 9, 2021, a United States Postal Service (USPS) letter carrier
received a USPS Priority Mail Express package, EJ 638 761 918 US, which was addressed to,
“Randy Davis,” at 906 S. 17" Street in Rogers, Arkansas. The letter carrier did not recognize the
name as receiving mail at the residence, so the package was scanned, “ADDRESSEE

UNKNOWN,” and held at the Rogers, Arkansas Post Office.

 

7. On or about September 10, 2021, USPS Supervisor Jeff Welch (Rogers, Arkansas Post
Office) received a phone call from an unknown male who stated he sent the parcel and wanted to
know why it had not been delivered. The male could not tell Welch who the package was
addressed to; he could only provide the tracking number and addressee’s address. The male was
told the reason why the parcel was being sent back to the sender. The caller requested the package
to not be returned to the return address, but to be held at the originating post office for someone to

pick up.

 
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8. On or about September 10, 2021, USPS Supervisor Jeff Welch received a second call
from the unknown male. Welch stated he recognized the male’s voice from the previous call.
Welch said the male identified himself as the recipient and asked for the package to be delivered
to the SUSPECT PREMISES.

9. On or about September 10, 2021, the Rogers, Arkansas Postmaster, Shane Blackburn,
and Supervisor Jeff Welch contacted Your Affiant and advised him of the incident. Your Affiant
requested the parcel to be sent to Your Affiant for investigation. Postmaster Blackburn provided
a phone number for the unknown male to Your Affiant.

10. On or about September 14, 2021, Your Affiant began an investigation of the parcel.
Your Affiant utilized a law enforcement database and found no record of the sender, “Sterling
Granger,” associated with 4169 Utah St., St. Louis, Missouri.

11. On or about September 14, 2021, Your Affiant called the phone number, (479) 640-
1841, for the unknown male who called the Rogers, Arkansas post office inquiring about the
package. The unknown male indicated he was, “Randy Davis.” Your Affiant asked for permission
to open the package. The unknown male stated there were checks in the parcel and gave Your
Affiant permission to open the package. Your Affiant opened the parcel and found five personal
checks from three separate bank accounts located in St. Louis, Missouri. The five checks were
made payable to various unrecognized individuals. The unknown male asked if the package could
be delivered tomorrow, and Your Affiant told him it would be delivered tomorrow.

12. On or about September 14, 2021, Your Affiant contacted G.F., who is one of the
account holders on US Bank check, number 9185. G.F. said she placed the aforementioned check
in the mail on or about September 6, 2021. G.F. said she placed the check into a USPS collection

box at the processing plant post office in St. Louis, Missouri.

 
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13. On or about September 14, 2021, Your Affiant checked USPS business records and
discovered the SUBJECT PREMISES has received 13 packages from St. Louis since October
2020.

14. On or about September 14, 2021, US Postal Inspector Rhonda Maratea made contact
with M.F., who is the account holder on US Bank checks 4116 and 4117. M.F. said he placed the
aforementioned checks in the mail on or about September 6, 2021. M.F. said he placed the checks
into a collection box at the McKenzie Point Post Office in St. Louis, Missouri.

15. On September 16, 2021, a US Postal Inspector, acting in an undercover capacity as a
USPS letter carrier, will attempt to deliver the SUSPECT PACKAGE to the SUSPECT
PREMISES. This search warrant will only be executed if the parcel is accepted and someone takes
the SUSPECT PACKAGE into the SUSPECT PREMISES.

16. Based on my knowledge, training, and experience, Your Affiant recognizes that the
possession of stolen checks is contraband which indicates that the suspects intend to defraud the
account holder by counterfeiting or chemically altering the checks to change the beneficiary and
cash or deposit into another account.

ELECTRONIC STORAGE AND FORENSIC ANALYSIS

17. Based on your Affiant’s knowledge, training, and experience, your Affiant knows that
cell phones, tablets and computer hardware, software, documentation, passwords, and data security
devices may be important to a criminal investigation in two distinct respects: (1) the items
themselves may be instrumentalities, fruits, and/or evidence of crime; and/or (2) items may have
been used to collect and store information about crimes (in the form of electronic data), Thus, Rule
41 of the Federal Rules of Criminal Procedure permits the government to search and seize cell

phones, tablets and computer hardware, software, documentation, passwords, and data security

 
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devices which are: (1) instrumentalities, fruits and/or evidence of crime; and/or (2) storage devices
for information about crimes.

18. Based on my knowledge, training, and experience, I know it is common practice for
individuals to use personal computers and other personal electronic storage devices to maintain
records and communications regarding stolen mail. | know that computers and mobile phones act
as computer systems capable of financial record-keeping functions.

19. Based on my knowledge, training, and experience, I believe that persons engaged in
stealing checks from the mail and possessing stolen mail commonly maintain electronic records
and files containing images of checks or other personal identifiers of the victims of mail theft.
Such electronic devices use the Internet via wire or wireless connection, which often travel from
one computer to another across state lines. Persons committing these crimes related to stealing
checks form the mail will possess and maintain electronic devices to communicate with others,
maintain records, and to commit the fraud.

20. As described above and in Attachment B, this application seeks permission to search
for records that might be found on the SUBJECT PREMISES, in whatever form they are found.
One form in which the records might be found is data stored on a computer’s hard drive or other
storage media. Thus, the warrant applied for would authorize the seizure of electronic storage
media or, potentially, the copying of electronically stored information, all under Rule 41(e)(2)(B).

21. Probable cause. | submit that if a computer or storage medium is found on the
SUBJECT PREMISES, there is probable cause to believe those records will be stored on that
computer or storage medium, for at least the following reasons:

a. Based on my knowledge, training, and experience, | know that computer files or

remnants of such files can be recovered months or even years after they have been

 
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downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic
files downloaded to a storage medium can be stored for years at little or no cost.
Even when files have been deleted, they can be recovered months or years later
using forensic tools. This is so because when a person “deletes” a file on a
computer, the data contained in the file does not actually disappear; rather, that data

remains on the storage medium until it is overwritten by new data.

b. Therefore, deleted files, or remnants of deleted files, may reside in free space or
slack space—that is, in space on the storage medium that is not currently being used
by an active file—for long periods of time before they are overwritten. In addition,
a computer’s operating system may also keep a record of deleted data in a “swap”

or “recovery” file.

c. Wholly apart from user-generated files, computer- storage media—in particular,
computers’ internal hard drives—contain electronic evidence of how a computer
has been used, what it has been used for, and who has used it. To give a few
examples, this forensic evidence can take the form of operating system
configurations, artifacts from operating system or application operation, file system
data structures, and virtual memory “swap” or paging files. Computer users
typically do not erase or delete this evidence, because special software is typically

required for that task. However, it is technically possible to delete this information.

d. Similarly, files that have been viewed via the Internet are sometimes automatically

downloaded into a temporary Internet directory or “cache.”

 
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22. Forensic evidence. As further described in Attachment B, this application seeks
permission to locate not only computer files that might serve as direct evidence of the crimes
described on the warrant, but also for forensic electronic evidence that establishes how computers
were used, the purpose of their use, who used them, and when. There is probable cause to believe

that this forensic electronic evidence will be on any storage medium in the PREMISES because:

a. Data on the storage medium can provide evidence of a file that was once on
the storage medium but has since been deleted or edited, or of a deleted
portion of a file (such as a paragraph that has been deleted from a word
processing file). Virtual memory paging systems can leave traces of
information on the storage medium that show what tasks and processes were
recently active. Web browsers, e-mail programs, and chat programs store
configuration information on the storage medium that can reveal
information such as online nicknames and passwords. Operating systems
can record additional information, such as the attachment of peripherals, the
attachment of USB flash storage devices or other external storage media,
and the times the computer was in use. Computer file systems can record
information about the dates files were created and the sequence in which

they were created, although this information can later be falsified.

b. As explained herein, information stored within a computer and other
electronic storage media may provide crucial evidence of the “who, what,
why, when, where, and how” of the criminal conduct under investigation,
thus enabling the United States to establish and prove each element or
alternatively, to exclude the innocent from further suspicion. In my training

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and experience, information stored within a computer or storage media
(e.g., registry information, communications, images and movies,
transactional information, records of session times and durations, internet
history, and anti-virus, spyware, and malware detection programs) can
indicate who has used or controlled the computer or storage media. This
“user attribution” evidence is analogous to the search for “indicia of
occupancy” while executing a search warrant at a residence. The existence
or absence of anti-virus, spyware, and malware detection programs may
indicate whether the computer was remotely accessed, thus inculpating or
exculpating the computer owner, Further, computer and storage media
activity can indicate how and when the computer or storage media was
accessed or used. For example, as described herein, computers typically
contain information that log: computer user account session times and
durations, computer activity associated with user accounts, electronic
storage media that connected with the computer, and the IP addresses
through which the computer accessed networks and the internet. Such
information allows investigators to understand the chronological context of
computer or electronic storage media access, use, and events relating to the
crime under investigation. Additionally, some information stored within a
computer or electronic storage media may provide crucial evidence relating
to the physical location of other evidence and the suspect. For example,
images stored on a computer may both show a particular location and have

geolocation information incorporated into its file data. Such file data

 
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typically also contains information indicating when the file or image was
created. The existence of such image files, along with external device
connection logs, may also indicate the presence of additional electronic
storage media (e.g., a digital camera or cellular phone with an incorporated
camera). The geographic and timeline information described herein may
either inculpate or exculpate the computer user. Last, information stored
within a computer may provide relevant insight into the computer user’s
state of mind as it relates to the offense under investigation. For example,
information within the computer may indicate the owner’s motive and intent
to commit a crime (e.g., internet searches indicating criminal planning), or
consciousness of guilt (e.g., running a “wiping” program to destroy
evidence on the computer or password protecting/encrypting such evidence
in an effort to conceal it from law enforcement).

c. A person with appropriate familiarity with how a computer works can, after
examining this forensic evidence in its proper context, draw conclusions
about how computers were used, the purpose of their use, who used them,

and when.

d. The process of identifying the exact files, blocks, registry entries, logs, or
other forms of forensic evidence on a storage medium that are necessary to
draw an accurate conclusion is a dynamic process. While it is possible to
specify in advance the records to be sought, computer evidence is not
always data that can be merely reviewed by a review team and passed along

to investigators. Whether data stored on a computer is evidence may depend

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on other information stored on the computer and the application of
knowledge about how a computer behaves. Therefore, contextual
information necessary to understand other evidence also falls within the

scope of the warrant.

23. Necessity of seizing or copying entire computers or storage media. \n most cases, a
thorough search of a premises for information that might be stored on storage media often requires
the seizure of the physical storage media and later off-site review consistent with the warrant. In
lieu of removing storage media from the premises, it is sometimes possible to make an image copy
of storage media. Generally speaking, imaging is the taking of a complete electronic picture of
the computer’s data, including all hidden sectors and deleted files. Either seizure or imaging is
often necessary to ensure the accuracy and completeness of data recorded on the storage media,
and to prevent the loss of the data either from accidental or intentional destruction. This is true

because of the following:

e. The time required for an examination. As noted above, not all evidence
takes the form of documents and files that can be easily viewed on site.
Analyzing evidence of how a computer has been used, what it has been used
for, and who has used it requires considerable time, and taking that much
time on premises could be unreasonable. As explained above, because the
warrant calls for forensic electronic evidence, it is exceedingly likely that it
will be necessary to thoroughly examine storage media to obtain evidence.
Storage media can store a large volume of information. Reviewing that

information for things described in the warrant can take weeks or months,

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depending on the volume of data stored, and would be impractical and

invasive to attempt on-site.

f. Technical requirements. Computers can be configured in several different
ways, featuring a variety of different operating systems, application
software, and configurations. Therefore, searching them sometimes
requires tools or knowledge that might not be present on the search site.
The vast array of computer hardware and software available makes it
difficult to know before a search what tools or knowledge will be required
to analyze the system and its data on the Premises. However, taking the
storage media off-site and reviewing it in a controlled environment will

allow its examination with the proper tools and knowledge.

g. Variety of forms of electronic media. Records sought under this warrant
could be stored in a variety of storage media formats that may require off-

site reviewing with specialized forensic tools.

24. Nature of examination. Based on the foregoing, and consistent with Rule 41(e)(2)(B),
the warrant I am applying for would permit seizing, imaging, or otherwise copying storage media
that reasonably appear to contain some or all of the evidence described in the warrant, and would
authorize a later review of the media or information consistent with the warrant. The later review
may require techniques, including but not limited to computer-assisted scans of the entire medium,
that might expose many parts of a hard drive to human inspection in order to determine whether it

is evidence described by the warrant.

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25. Because more than one person may share the SUBJECT PREMISES as a residence, it
is possible that the PREMISES will contain storage media that are predominantly used, and
perhaps owned, by persons who are not suspected of a crime. If it is nonetheless determined that
that it is possible that the things described in this warrant could be found on any of those computers
or storage media, the warrant applied for would permit the seizure and review of those items as
well.

CONCLUSION

26. For the reasons set forth above, there is probable cause to believe that evidence of
violations of Title 18, United States Code, Section 1708 (possession of stolen mail) will be located
within the SUBJECT PREMISES, as described and depicted in Attachment A.

27. Therefore, I respectfully request this Court to issue a warrant to search the SUBJECT
PREMISES, as described and depicted in Attachment A, to seize the evidence, fruits, and
instrumentalities described in Attachment B.

I declare, under penalty of perjury, that the statements above are true and correct to the best
of my knowledge and belief.
Salo.

DAVID BARRETT
U.S. POSTAL INSPECTOR

 

Subscribed and sworn to beforg me this a of September, 2021.

 

HON. CHRI$TY D. Com fel
UNITED SPATES MAGISTRATE JUDGE

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ATTACHMENT A

Property to Be Searched

The SUBJECT PREMISES 906 S. 17" Street, Rogers, Arkansas, in the Western District
of Arkansas. The SUBJECT PREMISES include a tan brick ranch style house with white porch

railings, and a one-car garage.

 

 

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ATTACHMENT B

All records within the SUBJECT PREMISES described in Attachment A that relate to a

violation of possession of stolen mail, including, but not limited to the following:

1. The package delivered by U.S. Postal Inspector David Barrett containing stolen checks
from the mail;

2. Any additional stolen mail or records of stolen mail matter found within the premises;

3. Any records and information relating to the identity or location of the suspects;

4. Any records and information relating to a scheme to commit mail theft;

5. Any documents, receipts, notes, bank records, personal identifying information, and
correspondence relating to victims of mail theft;

6. Any digital media device, including but not limited to: cellular phone(s), tablet(s), laptop
computer(s), desktop computer(s) belonging to the suspects and/or the owner of the device
associated with number (479) 640-1841, for the following records:

a. Communications or data, such as emails, text messages, notes, instant messaging,
audio files or videos tending to indicate efforts to obtain or store mail, personal
identifiers, routing or bank account numbers, and any other victim information;

b. Communications or data, including contacts, text messages, and call history,

tending to identify criminal associates or plan criminal activities;
c. Images of stolen mail, checks, bank records, or any other victim information;

d. Evidence of user attribution showing who used or owned the devices at the time the
things described in this warrant were created, edited, or deleted, such as logs,

phonebooks, saved usernames and passwords, documents, and browsing history.

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7. Any information related to sources of stolen checks and mail (including names, addresses,
phone numbers, or any other identifying information);
8. Any other contraband or instruments of crimes relating to stolen mail matter, including

materials and devices used to alter/counterfeit checks from the mail.

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